i{\\ Case 2:04-cr-20§11-.]DB Document 155 Filed 05/23/05 Page 1 of 3 Page|D 220

FH'EB :`JJ`F C%“` gc '“J.`..;.}‘ ry M

apwu _IN_;§E UN:TED sTATEs DLSTRICT couRT
UJFHH 23 HHSE~ E wEsTERN DISTRICT oF TENNESSEE Q;ny#uq @H ~.r

fL-E/\, .~».
WESTERN DIvIsioN 4 “@

   

UNITED STATES OF AMERICA,

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)
Plaintiff, )
)
)

vs. Crint)in‘_&il‘dq§; 04-20311/
l ‘ a - 05-201§4

'TEREEV\ FLED€ING, MOTION GiANTED ' JQN PHIPFS MQCALL§

.‘ u.s. I)ISTRICT JI,:I)L.LM

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‘»-~ : »-..

Defendant. )

 

 

JOINT MOTION TO TRANSFER AND
CONSOLIDATE CASES FOR SENTENCING

 

The United States of America and the defendant by and through
their respective counsel, file this joint motion to consolidate Cr.
No. 04-20311 and Cr. No. 05-20164 for sentencing.

The defendant entered pleas of guilty to twenty (20) counts in
Cr. No. 04-20311. The matter is set for sentencing on June 3,
2005.

On April 27, 2005, the_defendant entered pleas of guilty to
the Information filed in Cr. No. 05-20164. That matter is set for

sentencing on August 13, 2005.

This document entered on the docket sheet i con}o!ianc¢a
With Hula 55 and/or 32{b) FRCrF’ on 5 '££ fl \'~_3

 

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The parties agreed to request that the cases be consolidated

for sentencing in the plea agreement entered in Cr. No.

By:

05-20164.

Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

Vivian R. Donelson

Assistant United States Attorney
167 N. Main, Room 800

Memphis, TN 38103

(#009951 Tennessee)

 

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Larry{Fitzgéi ld

Attorney for Defendant

   
  

   

   

  
  

UNITED `sTEATs DISTRICT COURT - WESRNTE D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 155 in
case 2:04-CR-203]1 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

